            Case: 5:17-cv-00668-SL Doc #: 64 Filed: 05/09/18 1 of 2. PageID #: 1159
 


                                                      UNITED STATES DISTRICT COURT
                                                       NORTHERN DISTRICT OF OHIO
                                                            EASTERN DIVISION


    TRISHA ROMANO, et al.,                                         )     CASE NO. 5:17-cv-668
                                                                   )
                                              PLAINTIFFS,          )     JUDGE SARA LIOI
                                                                   )
    vs.                                                            )     ORDER OF CLARIFICATION
                                                                   )
    HUDSON CITY SCHOOL DISTRICT                                    )
    BOARD OF EDUCATION, et al.,                                    )
                                                                   )
                                              DEFENDANTS.          )


              On April 26, 2018, the Court issued a Memorandum Opinion and Order (Doc. No. 61

[“MOO”]) granting in part and denying in part plaintiff’s motion for leave to file a second amended

complaint.1 The MOO dismissed without prejudice Count I (First Amendment retaliation) and

Count IV (retaliation under state law and common law), and noted that all claims brought by

plaintiff Matthew Romano had previously been dismissed and “may simply be ignored.” (MOO at

1135.) This left for resolution Count II (age discrimination under state law), Count III (aiding and

abetting), Count V (ADEA age discrimination), and Count VI (ADEA retaliation).

              On May 4, 2018, plaintiff filed a motion to clarify the MOO. (Doc. No. 62.) Plaintiff asserts

that her motion to file a second amended complaint only sought dismissal of Count I. She wishes

to proceed with her state law claim of retaliation for engaging in the protected activity of opposing


                                                            
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  Plaintiff had sought, at least in part, “to amend to conform to the evidence . . . based upon [p]laintiff’s present [i.e.,
new] counsel’s appreciation of the facts in this case.” (Doc. No. 58 at 1110.) (All page number references are to the
page identification number generated by the Court’s electronic docketing system.) Of course, such an amendment is
unnecessary under Fed. R. Civ. P. 8, which does not require a party to plead every fact known to support her claims.
See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007) (Rule 8 does not “require
heightened fact pleading of specifics, but only enough facts to state a claim to relief that is plausible on its face”). “If
simply learning additional facts during the course of discovery was a sufficient basis, without more, to amend a
complaint, presumably complaints would be amended in virtually every action.” Fox v. Travers City Area Pub. Sch.
Bd. of Educ., No. 1:07-CV-956, 2008 WL 4590409, at *1 (W.D. Mich. Oct. 9, 2008).

 
        Case: 5:17-cv-00668-SL Doc #: 64 Filed: 05/09/18 2 of 2. PageID #: 1160
 


age discrimination, as asserted in Count IV. The Court now agrees that it incorrectly linked Count

IV to Count I. Count IV as pleaded in the first amended complaint is more properly linked to the

state law age discrimination claim in Count II.

         Therefore, plaintiff’s motion to clarify is granted. The dismissal of Count IV of the first

amended complaint is vacated and that count is restored to the complaint.



         IT IS SO ORDERED.



    Dated: May 9, 2018
                                                  HONORABLE SARA LIOI
                                                  UNITED STATES DISTRICT JUDGE




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